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~A0245D
                                                                  #149
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet I




          UNITED STATES OF AMERICA
                     v.
                    RICK HARRE

                                                                        Case No. 4:98CR40104-006
                                                                        USM No. 04646-025
                                                                           Melissa A. Day, AFPD
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           as alleged below                 of the tenn of supervision.
o was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                              Violation Ended
Standard # 9                    The defendant associated a convicted felon                                    08/06/2010



Special                         The defendant failed to abstain from alcohol consumption                      08/05/2010


       The defendant is sentenced as provided in pages 2 through _---...:3::.....-_ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes ill
economlC clrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0388                     09/30/2010

Defendant's Year of Birth:          1064

City and State of Defendant's Residence:                                                           Signature of Judge
Brownstown, IL 62418
                                                                           J. Phil Gilbert                              District Judge



                                                                                                         Date
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              (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

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                                                                  IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total tenn of :
1 day




        o The court makes the following recommendations to the Bureau of Prisons:



      t/ The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                 to

 at     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                            By
                                                                                        DEPUTY UNITED STATES MARSHAL
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            Sheet 3C - Supervised Release

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                                            SPECIAL CONDITIONS OF SUPERVISION

X The defendant shall be placed on electronic monitoring and alcoholic monitoring as directed by probation.


X Due to the defendant's substance abuse history, he shall partiCipate as directed and approved by the probation officer in
treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures and which may require residence and/or participation in a residential treatment facility. Any
participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
in a one year period.

X The defendant shall not consume any alcohol while on supervised release.
